958 F.2d 368
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Christopher Leon MOORE, Petitioner-Appellant,v.Robert SPELL, Chief Jailer of New Hanover County Jail;Attorney General of North Carolina;  State ofNorth Carolina, Respondents-Appellees.
    No. 91-7344.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 2, 1992.Decided March 16, 1992.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.   James C. Fox, Chief District Judge.  (CA-91-319-HC-F)
      Christopher Leon Moore, appellant pro se.
      Clarence Joe DelForge, III, Office of the Attorney General of North Carolina, Raleigh, N.C., for appellees.
      E.D.N.C.
      DISMISSED.
      Before SPROUSE and WILKINSON, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      Christopher Leon Moore seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. § 2254 (1988).   Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.   Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.   Moore v. Spell, No. CA-91-319-HC-F (E.D.N.C. Oct. 21, 1991).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    